USCA11 Case: 24-11287   Document: 19-1     Date Filed: 08/21/2024   Page: 1 of 6




                                                 [DO NOT PUBLISH]
                                  In the
                United States Court of Appeals
                        For the Eleventh Circuit

                         ____________________

                                No. 24-11287
                         Non-Argument Calendar
                         ____________________

       BENJAMIN BEDOGWAR ORYANG,
                                                    Plaintiﬀ-Appellant,
       versus
       BILLY MITCHUM, et al.,


                                                           Defendants,


       MS. WAUGH,
       DR. PERRYMAN,
       DR. BELL,
       LIEUTENANT PARKER,
       JOSEPH H. HEADLEY,
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       2                     Opinion of the Court               24-11287

       TEHUM CARE SERVICES, INC., et al.,


                                                  Defendants-Appellees.


                           ____________________

                 Appeal from the United States District Court
                     for the Middle District of Alabama
                  D.C. Docket No. 2:21-cv-00023-ECM-CWB
                          ____________________

       Before WILSON, BRASHER, and ABUDU, Circuit Judges.
       PER CURIAM:
              This appeal stems from Benjamin Oryang’s civil action rais-
       ing deliberate indifference and Americans with Disabilities Act
       (ADA) claims against multiple defendants, including Corizon LLC
       (Corizon) (now operating under the name Tehum Care Services,
       Inc.). On March 26, 2024, the district court granted multiple de-
       fendants’ motions for summary judgment but held Corizon’s mo-
       tion for summary judgment in abeyance due to the automatic stay
       stemming from Corizon’s bankruptcy proceedings. It concluded,
       without explanation, that there was no just reason for delay under
       Fed. R. Civ. P. 54(b) and that final judgment would be entered as
       to the defendants whose motions for summary judgment it
       granted. It entered its Rule 54(b) judgment the same day. Oryang
       appeals the Rule 54(b) judgment.
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       24-11287               Opinion of the Court                          3

               On appeal, we issued a jurisdictional question asking the par-
       ties to address whether the district court properly certified an im-
       mediately appealable judgment under Rule 54(b). Upon review of
       the record and the parties’ responses, we conclude that the Rule
       54(b) certification was improper, and therefore we lack jurisdiction
       over the appeal.
              We generally only have jurisdiction to review district court
       orders or judgments that constitute “final decisions.” 28 U.S.C.
       § 1291; CSX Transp., Inc. v. City of Garden City, 235 F.3d 1325, 1327
       (11th Cir. 2000). But an exception to the finality requirement arises
       under Rule 54(b), which permits a district court to certify as “final,”
       and therefore immediately appealable, a judgment resolving fewer
       than all the claims in an action. Fed. R. Civ. P. 54(b); Supreme Fuels
       Trading FZE v. Sargeant, 689 F.3d 1244, 1246 (11th Cir. 2012).
               If a district court makes a Rule 54(b) certification, we must
       consider whether the certification “fit[s] within the scope of the
       rule,” for only a proper certification can provide us with jurisdic-
       tion. Lloyd Noland Found., Inc. v. Tenet Health Care Corp., 483 F.3d
       773, 777 (11th Cir. 2007). Thus, we are obligated to review the pro-
       priety of Rule 54(b) certifications sua sponte when there is no other
       basis for appellate jurisdiction. See Scott v. Advanced Pharm. Consult-
       ants, Inc., 84 F.4th 952, 958, 962 (11th Cir. 2023).
               A district court “must follow a two-step analysis” in certify-
       ing a partial final judgment under Rule 54(b). Lloyd Noland Found.,
       Inc., 483 F.3d at 777. First, it must conclude that the “final judg-
       ment” it is entering is both “final” and a “judgment.” Id. Second,
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       4                      Opinion of the Court                  24-11287

       it must determine that there is no just reason for delay. Id. We can
       dismiss an appeal because the district court failed to satisfy one of
       Rule 54(b)’s requirements without addressing the other require-
       ment. Peden v. Stephens, 50 F.4th 972, 978 (11th Cir. 2022).
              We ordinarily will review for abuse of discretion the district
       court’s determination that there is no just reason for delay in certi-
       fying a partial final judgment. Scott, 84 F.4th at 959. But this stand-
       ard of review requires that the district court “clearly and cogently
       articulate[d] its reasoning.” Id. (quotation marks and brackets
       omitted). When the district court fails to explain its “no just reason
       for delay” determination, we do not defer to the determination and
       instead will dismiss the appeal unless it presents the rare circum-
       stance where obvious reasons warranted the Rule 54(b) certifica-
       tion. Id. at 959, 962.
               Here, the district court determined that there was no just
       reason for delay, but it provided no explanation of its reasoning to
       which we can defer. See id. And no obvious reasons warrant Rule
       54(b) certification here. The below proceedings are almost entirely
       concluded: discovery appears complete, and a small number of the
       total claims remain pending. See Peden, 50 F.4th at 978–79 (explain-
       ing that special circumstances that can warrant Rule 54(b) certifica-
       tion may be present where the proceedings are at an early stage).
       Given the later stage of the proceedings, an immediate appeal is
       unlikely to meaningfully streamline the district court proceedings.
       See id. (explaining that Rule 54(b) certification is more likely to be
       warranted where an immediate appeal makes the remaining
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       24-11287               Opinion of the Court                         5

       litigation substantially more efficient). Furthermore, an interlocu-
       tory appeal could require multiple panels of this Court to review
       this district court docket, requiring two separate reviews of factu-
       ally similar claims. Ebrahimi v. City of Huntsville Bd. of Educ., 114
       F.3d 162, 167 (11th Cir. 1997) (providing that adjudicating claims
       based on the same, or overlapping, operative facts in separate ap-
       peals is wasteful of judicial resources).
               Moreover, Oryang has not identified a pressing need for an
       immediate appeal. His argument that Corizon’s bankruptcy pro-
       ceedings could indefinitely delay the conclusion of the district court
       action is insufficient because he does not argue that this delay will
       result in any particular harm other than inconvenience. See Peden,
       50 F.4th at 978–79 (concluding, while reviewing under the deferen-
       tial abuse of discretion standard, that the district court abused its
       discretion by concluding that there was no just reason for delay
       based on potentially substantial delay due to the coronavirus pan-
       demic because there was no indication that the delay would result
       in any harm other than inconvenience). Oryang also argues that,
       even if the district court was incorrect in certifying a judgment as
       to his deliberate indifference claims under Rule 54(b), the no just
       reason for delay determination was correct as to his ADA claims
       because he has no ADA claim against Corizon and his ADA claims
       concern distinct legal and factual issues. But that shows, at most,
       that the interests of judicial administration weigh less heavily
       against an immediate appeal; it does not establish any pressing need
       for an immediate appeal. And, regardless of the merit of Oryang’s
       argument, we remain convinced that the interests of judicial
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       6                      Opinion of the Court               24-11287

       administration weigh against an immediate appeal for the reasons
       discussed above.
              Given the procedural posture of this case and the lack of a
       pressing need for an immediate appeal, we conclude that there are
       no “obvious reasons” supporting the district court’s unexplained
       determination that there was no just reason for delay. Thus, the
       Rule 54(b) certification was improper, and because the appeal is not
       otherwise taken from a final or appealable order, it must be dis-
       missed.
               Accordingly, this appeal is DISMISSED for lack of jurisdic-
       tion.
